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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA                       :   CRIMINAL NO.
                                                  :
                v.                                :   MAGISTRATE NO. 21-MJ-137
                                                  :
   TOMMY FREDERICK ALLAN,                         :   VIOLATIONS:
                                                  :   18 U.S.C. § 641
                         Defendant.               :   (Theft of Government Property)
                                                  :   18 U.S.C. § 1752(a)(1)
                                                  :   (Entering and Remaining in a Restricted
                                                  :   Building or Grounds)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(A)
                                                  :   (Entering and Remaining on the Floor of
                                                  :   Congress)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)


                                   INFORMATION

       The United States Attorney charges that:

                                        COUNT ONE

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, did steal, purloin, and knowingly convert to his use and the use of another, and without

authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the

United States and any department and agency thereof, that is, a United States flag, which has a

value of less than $1,000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section
       641)
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, did steal, purloin, and knowingly convert to his use and the use of another, and without

authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the

United States and any department and agency thereof, that is, that is Government documents from

the floor of the Senate Chamber, which have a value of less than $1,000.

       (Theft of Government Property, in violation of Title 18, United States Code, Section
       641)

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, did unlawfully and knowingly enter and remain in a restricted building and grounds, that

is, any posted, cordoned-off, or otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-elect were temporarily visiting, without

lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, did knowingly, and with intent to impede and disrupt the orderly conduct of Government

business and official functions, engage in disorderly and disruptive conduct in and within such

proximity to, a restricted building and grounds, that is, any posted, cordoned-off, or otherwise

restricted area within the United States Capitol and its grounds, where the Vice President and Vice

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President-elect were temporarily visiting, when and so that such conduct did in fact impede and

disrupt the orderly conduct of Government business and official functions..

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                         COUNT FIVE

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, willfully and knowingly entered and remained on the floor of a House of Congress,

without authorization to do so.

       (Entering and Remaining on the Floor of Congress, in violation of Title 40, United
       States Code, Section 5104(e)(2)(A))

                                          COUNT SIX

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, willfully and knowingly engaged in disorderly and disruptive conduct in any of the

Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session

of Congress and either House of Congress, and the orderly conduct in that building of a hearing

before or any deliberation of, a committee of Congress or either House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                      COUNT SEVEN

       On or about January 6, 2021, in the District of Columbia, TOMMY FREDERICK

ALLAN, willfully and knowingly paraded, demonstrated, and picketed in any United States

Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))


                                           Respectfully submitted,

                                           MICHAEL R. SHERWIN
                                           Acting United States Attorney
                                           N.Y. Bar No. 4444188


                                    By:                    /s/
                                           JONATHAN S. JACOBS
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